                    Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 1 of 23
AO 133    (Rev. 12/09) Bill of Costs                                                                                    .F' I    L     E      E


                                        UNITED STATES DISTRICT COURT                                                       MAR 2 02019
                                                                          for the                                  GLERK, U.S. D$STRICT.CØtT

                                                            Western District of Texas

                     CLINTON STRANGE                                        )
                                                                            )
                                   v.                                       )       Case No.: 6:18-CV-00180-ADA-JCM
                                                                            )
       GLOBAL VIRTUAL OPPORTUNITIES, INC.                                   )

                                                                BILL OF COSTS
Judgment having been entered in the above entitled action on                    03/05/2019            against     Defendant
                                                                                    Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk   ..................................................................                                     $                      11.50

Fees for service of summons and subpoena ..............................................                                                            0.00
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case                                                  18.75

Fees and disbursements for printing           ....................................................                                             32.60

Fees for witnesses    (itemize on page two)    ...................................................                                                 0.00
Fees for exemplification and the costs of making copies of any materials where the copies are
                                     .................................................
necessarily obtained for use in the case

Docket fees under28 U.S.C. 1923 .....................................................                                                             0.00
Costs as shown on Mandate of Court of Appeals ..........................................                                                          0.00
Compensation of court-appointed experts ...............................................                                                           0.00
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828                                                    0.00
.,tuer costs (please itemize)   .............................................................                                                        2

                                                                                                                TOTAL      $
                                                                                                                                              354.97

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                       Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:                                                                             GC             iL
                                                                                                               Vi*st&l                      1h
                EliElectronic service                             First class mail, postage prepaid
                                                           []
                 Other                               ii.                                                        /Jeu 84zub1     -e   Is 4TX       -7/S.z
          SI   Attorney:
                     name or Attorney:
For:                                    Pro Se Plaintiff- Clinton Strange                                          Date:        03/15/2019
                                                 Name of Claiming Party


                                                                 Taxation of Costs
Costs are taxed in the amount of                                                                                    and included in the judgment.

                                                                 By:
                      Clerk of Court                                                   Deputy Clerk                                    Date
                      Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 2 of 23
AO 133 (Rev. 12/09) Bill of Costs


                                     UNTTED STATES DISTRICT COURT
                                     Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                      ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                         Total Cost
           NAME CITY AND STATE OF RESIDENCE
                  ,                                                             Total                Total                Total         Each Witness
                                                                      Days      Cost       Days      Cost      Miles      Cost


                                                                                                                                                 $0.00




                                                                                                                                                 $0.00




                                                                                                                                                 $0.00



                                                                                                                                                4$0OO



                                                                                                                                                 $0.00



                                                                                                                       TOTAL                     $0.00

                                                                       NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  "Sec. 1924. Verification of bill of costs."
       "Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed."

  See also Section 1920 of Title 28, which reads in part as follows:
      "A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree."

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys' Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs   -  other than attorney's fees  - should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

       When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry ofjudgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
       Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 3 of 23




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


CLINTON STRANGE,
Plaintiff




                                               Case No. 6:18-CV-00180-ADA-JCM


                                                 Honorable Judge Alan D. Albright


                                                Magistrate Judge Jeffrey C. Manske
I',




GLOBAL VIRTUAL OPPORTUNITIES, INC.,
Defendant




            PLAINTIFF'S SWORN STATEMENT REGARDING COSTS OF SUIT




Page 1 of 4
         Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 4 of 23



                ,21
                           J(rL4
         On '
                       /
                                    ,   2019 Clinton Strange appeared before me at the address of

  Cccv        eq/cc/r S1ireve'rt4 71(2?                 ;   and made the following statement under oath:




      1. I    am Clinton Strange, and I am the pro se Plaintiff in the action captioned as Strange               v.


               Global Virtual Opportunities, Inc. Case No. 6:18-CV-00180-ADA-JCM which was

                  brought in the United States District Court for the Western District of Texas.

     2. On March 5, 2019 the Court awarded me post judgment interest on the Amended Final

              Judgement to be calculated at 2.55% per annum, and costs ofsuit [See ECF No. 17].

     3. I have itemized and calculated the costs and attached exhibits to this sworn statement to

              document the costs and affirm that all the costs incurred were absolutely necessary in

                                        prosecuting the action to its conclusion.

         4. The total costs    of suit that are documented on the attached itemized cost sheet are

                                           $354.97 and are listed as follows:

         a- Postage ...................................................................................$35.69

         b- Money order Fees ...................................................................... $1.25

         c- Feesto the Clerk ........................................................................ $11.50

         d- Mileage .................................................................................. $191.78

         e- Meal ...................................................................................... $22.31

         f- Envelopes .................................................................................$3.58

         g- Texas Secretary of State documents ................................................. $25.67

         h- Printing of documents necessary (326 pages) ....................................... $32.60

         i-    Transcription of a voicemail from Defendant's registered agent ................. $18.75

         j- Notary fees ............................................................................... $10.00

Page 2 of 4
        Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 5 of 23




   5.   I, Clinton Strange, affirm that all the statements made herein are both true and correct.




                                                              3     (c              oc

Clinton Strange                                                       Dated




                                                                                      Notary Public

                                                                     -/--     f'i



                                                                                              Dated




Page 3 of 4
        Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 6 of 23




To whom it may concern:


Today March 15, 2019 I,      dL4LL            )co11ected $10.00 from Clinton Strange as

a Notary Fee in regard to a court document.




   /QLLL
   2eLeAe




Page 4 of 4
Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 7 of 23




                  BILL OF COSTS


                      EXHIBIT A
                  Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 8 of 23

     Clinton Strange                                                                 Statement Date:                                     3/15/2019

 7021 Winburn Drive
Greenwood, LA 71033
       318-423-5057



                           IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE WESTERN DISTRICT OF TEXAS
                                          STRANGE V. GLOBAL VIRTUAL OPPORTUNITIES, INC.
                                                    CASE NO. 6:18-CV-00180-ADA-JCM




                       NOTARY FEE FOR DECLARATION OF
   3/15/2019           COSTS                                                sio.00               y2        /                               $10.00
                       FEE TO CLERK - ABSTRACT OF
   2/21/2019           JUDGEMENT                                            sii.o             PaJQL                                        $21.50
                       MONEY ORDER FOR ABSTRACT FEE TO
   2/21/2019           CLERK                                                 $1.25            S?Q51                                        $22.75
                       POSTAGE FOR MAILING - ABSTRACT OF
   2/21/2019           JUDGEMENT                                             $1.15            P'ZJ             3                           $23.90
                       TEXAS SECRETARY OF STATE
   2/21/2019           DOCUMENT                                              $2.05                     &                                   $25.95
                       DEMAND FOR PAYMENT ON ORIGINAL
   1/16/2019           JUDGEMENT - POSTAGE                                   $1.21                                                         $27.16
                       POSTAGE FOR MAILING - MOTION FOR
   12/6/2018           DEFAULT JUDGEMENT TO CLERK                            $1.84                     Q.                                  $29.00
                       POSTAGE FOR MAILING - MOTION FOR
   12/6/2018           DEFAULT JUDGEMENT TO DEFENDANT                        $1.84                                                         $30.84
                       POSTAGE FOR MAILING - MOTION FOR
   10/18/2018          DEFAULT JUDGEMENT                                     $1.84                     e                                   $32.68
                       POSTAGE FOR MAILING - CLERKS ENTRY
                                                                                                                                           $34.31
   10/9/2018           OF DEFAULT
                       REV.COM TRANSCRIPTION SERVICE -
                                                                             $1.63
                                                                                                                           7
   9I20/2018           DISPUTE OVER REGISTERED AGENT                        $18.75                             -                           $53.06
                       TEXAS SECRETARY OF STATE CERTIFIED
   9/12/2018           COPY ENTITY DOCUMENTS                                $23.62                     e                                   $76.68
                       POSTAGE FOR MAILING - U.S. MARSHALL
   9/13/2018           SERVICE IN SAN ANTONIO,TX                             $1.42                      e          1       0               $78.10
                       POSTAGE FOR MAILING - U.S. MARSHALL
   813/2018            SERVICE IN SAN ANTONIO,TX                             $7.20           PO&.                  (       (,,
                                                                                                                                           $85.30
                       POSTAGE FOR MAILING - WAIVER OF
   7/5/2018            SERVICE OF SUMMONS PACKETS                           $19.40                                         (     2        $104.70
                       ENVELOPES FOR WAIVER OF SERVICE OF
   7/5/2018            SUMMONS PACKETS                                       $3.58           fc.3                  I.            L        $108.28
                       INTERSTATE TRAVEL FROM
   7/3/2019            GREENWOOD, LA TO WACO TEXAS -446                    $191.78                             .       1         3        $300.06
                       Meal at Iron Skillet - Hillsboro TX - Day of
   7/3/2018            Overthe CounterComplaint Filing                      $22.31           (4.5                      I
                                                                                                                                          $322.37
                       Printing of necessary Documents 326
                       pagesat$.1o/page                                     $32.60          N    PQe                       N!        $    $354.97
          Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 9 of 23




To whom it may concern:


Today March 15, 2019 I,                  4) ',4á-t)collected $10.00 from Clinton Strange as

a Notary Fee in regard to a court document.




x




Page   4of4
Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 10 of 23
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Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 11 of 23


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                Bill    #.     84O-57O00315-2-1O9O31-2
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           Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 12 of 23
  Corporations Section
  P.O.Box 13697                                                                                              David Whitley
  Austin, Texas 7871 1-3697                                                                                     Secretary   of State




                                         Office of the Secretary of State
                                                          Packing Slip
                                                                                                               February 21, 2019
                                                                                                                       Page 1 of 1
  Attn: Clinton Strange
  Clinton A Strange
  7021 Winburn Drive
  Greenwood, LA 71033- 71033



  Batch Number: 86966471                               Batch Date: 02-20-2019
  Client ID: 694404370                                 Return Method: Email




  Document                                                                                                 Page
  Number             Document Detail                          Number / Name                                Count              Fee
  869664710002       Find by Filing Number                        19805312725                                               81.00
 869664710003        Find                                         Global Virtual Opportunities,                             $1.00
                                                                  Inc.
 869664710004        Convenience Fee                                                                                        $0.05

                                                                                                 Total Fees:                 $2.05



 Payment Type                 Payment Status                       Payment Reference                                     Amount
  Credit Card                 Accepted                             ************1892                                          $2.05

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                                                            Total Amount Charged to Client Account:                         $0.00
                    (Applies to documents or orders where Client Account is the payment method)


 Note to Customers Paying by Client Account: This is not a bill. Payments to your client
                                                                                         account should be based
 on the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
 upon request. Refunds (if applicable) will be processed within 10 business days.


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Phone: (512) 463-5555                              FAX: (512)463-5709                            Dial:   7-1-1 for Relay Services
Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 13 of 23




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               Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 14 of 23
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   Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 15 of 23


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                       Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 16 of 23
                                                                                                 Services"   About   Contact   Hi   Clinton'


  Thank you. Your order was successful'

 Your order has been processed. A confirmation email has been sent
                                                                   to parsmllc@gmail.com. When
 your transcription is ready, we will notify you by email.

 Please help us improve the quality of your order by adding Glossaries.
                                                                        Speaker Names, and Accents.


 Order Details

      ORDER NUMBER:
                                                                                      9/20/2018
      TC0334466156


          voicemaiLtranscript.tcpa.claims.1.MOV                                         $15.00


      SUBTOTAL                                                   15 MIN                 $15.00
      VERBATIM
                                                                                         $3.75


      TOTAL
                                                                                      $18.75



Payment Details
PAYMENT METHOD                     ORDER SUMMARY                 CONTACT EMAILS
Visa ending in 5819 exp. 10/2020   Order Total         S18.75    parsmllc@gmail.com
      Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 17 of 23


Ccnporations Section                                                                                   Rolando B. Pablos
                                                                                                                  Secretary of State
Austin, Texas 78711-3697



                                          Office of the Secretary of State
                                                          Packing Slip
                                                                                                             September 12, 2018
                                                                                                                         Page of

Auii: Clinton Strange
Clinton Andrew Strange
7021 Winburn Drive
Greenwood, LA 71033- 3215



 Batch Number: 83659930                                 Batch Date: 09-12-2018
 Client ID: 673471220                                   Return Method: Email




 Document                                                                                                   Page
 Number                Document Detail                         Number I Name                                Count               Fee

 836590300002          Find                                          Global Virtual Opportunities,                           80.00
                                                                     Inc.
 836590300003          Certified copies of a record or                                                         7            S21.00
                       document
 836590300004          Activity for RA past 60 (lays             Global Virtual Opportunities,                               S1.00
                                                                 inc.
 836590300005          Activity for BA past 60 days              J Bradley Jones                                             81.00

 836590300006          Convenience Fee                                                                                        S0.62

                                                                                                    Total Fees:              S23.62




 Payment Type                  Payment Status                         Payment Reference                                     Amount

  Credit Card                  Accepted                                    ** * S S S   589                                  £23.62

                                                                                                           Total:             823.62

                                                        Total Amount Charged to Client Account:                               S0.00
                       (Applies to documents or orders where Client Account is the payment method)


 Note to Customers Paying by Client Account: This is not a bill. Payments to your client account should be based
 on the monthly statement and not this packing slip. Amounts credited to your client account may be refunded
 upon request. Refunds (if applicable) will be processed within 10 business days.


 User ID: WEBISOLATED


                                   Conie visit us on i/ic Internet     /iItp.%'wwwsos.siate.txns!
Phone: (512) 463-5555                                 FAX: (512) 463-5709                            Dial: 7-1-I for Relay Services
Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 18 of 23




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                                       GREENWOOD
                                            LA
                                     710339998
                                     2138480639
                 09/13/2018          (800)2758777              9:20     AM



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                        (Estimated Delivery Da'te)
                        (Monday 09/17/2018)

                Total                                           $1.42
                Cash                                           $200
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                        Thank you     for your business
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              Bill #: 840-57000315-2-939017-2
              Clerk       07
          Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 19 of 23




                                                               GREENWOOD
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                  Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 20 of 23

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        Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 22 of 23


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Case 6:18-cv-00180-ADA-JCM Document 18 Filed 03/20/19 Page 23 of 23




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